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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION




         PLAINTIFF,
                                                               CASE NO.: 1:22-CV-00633
V.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

         DEFENDANTS.


                                                COMPLAINT

            Plaintiff,                               (“       or “Plaintiff”), by its undersigned counsel,

     hereby complains of the Partnerships and Unincorporated Associations identified on Schedule A,

     attached hereto (collectively, “Defendants”), and using the identified online marketplace accounts

     (collectively, the “Defendant Internet Stores” or “Seller Aliases”), and for its Complaint hereby

     alleges as follows:


                                      JURISDICTION AND VENUE

            1.        This Court has original subject matter jurisdiction over the claims in this action

     pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., the Federal Copyright Act,

     17 U.S.C. § 101, et seq., 28 U.S.C. § 1338(a)-(b), and 28 U.S.C. § 1331. This Court has jurisdiction

     over the claims in this action that arise under the laws of the State of Illinois pursuant to 28 U.S.C.

     § 1367(a), because the state law claims are so related to the federal claims that they form part of

     the same case or controversy and derive from a common nucleus of operative facts.




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        2.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events giving

rise to this lawsuit, of which each Defendant stands accused, were undertaken in Illinois and within

this Judicial District.

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, since each Defendant

directly targets consumers in the United States, including Illinois, through the fully interactive,

commercial Internet stores operating under the Defendant Seller Aliases and/or the Defendant

Internet Stores identified in Schedule A. Each of the Defendants has targeted sales from Illinois

residents by operating online stores that offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and, on information and belief, has sold, and continues to sell

counterfeit products that infringe upon Plaintiff’s trademarks and/or copyrights. Each Defendant

is committing tortious acts, is engaging in interstate commerce, and has wrongfully caused

substantial injury in the State of Illinois.

                                          INTRODUCTION

        4.      This action has been filed to combat the online trademark and copyright infringement

and counterfeiting of Defendants, who trade upon Plaintiff’s valuable trademarks and copyrights by

selling and/or offering for sale unauthorized, inauthentic, infringing, and counterfeit products in

connection with Plaintiff’s federally registered trademarks, as well as to stop and prevent

Defendants’ selling of unauthorized products that use, are based on, and/or are derived from

copyrighted subject matter created by

        5.      Plaintiff,                               is the owner of the federally registered

         Trademarks, listed in the table below, and true and correct copies of which are attached

hereto as Exhibit 1 (collectively referred to as the “                Trademarks” and “Trademark



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Registrations”). The Trademark Registrations are valid, subsisting, and in full force and effect. The

Trademark Registrations of the                 Trademarks constitute prima facie evidence of their

validity and of        exclusive right to use the               Trademarks pursuant to 15 U.S.C. §

1057(b). The Trademark Registrations are valid, subsisting, and in full force and effect. Plaintiff is

the owner of numerous Copyright Registrations, which have effective registration dates as early as

1980, and are attached hereto as Exhibit 2 (hereinafter referred to as “            Copyrights”).




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       6.      In an effort to illegally and deceptively profit from the          Trademarks and

              Copyrights, Defendants created numerous online marketplace accounts and online

stores, intentionally designed in look, feeling, and suggestion to give the impression to consumers

that they are legitimate websites and merchants selling products manufactured by or authorized by

     (the “            Products”), with Defendants’ ultimate intention being to deceive unknowing

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consumers into purchasing unauthorized and infringing                     Products (hereinafter referred

to as “Counterfeit                Products” or “Counterfeit Products”).

        7.      Defendant Internet Stores share numerous unique identifiers, such as design elements

and similarities of the unauthorized products offered for sale, establishing a logical relationship

between Defendants, and suggesting that Defendants’ illegal operations arise out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability

by going to great lengths to conceal both their identities and the full scope and interworking of their

illegal operation.

        8.      Plaintiff is forced to file this action to combat Defendants’ ongoing infringement of

Plaintiff’s              Trademarks and                 Copyrights (collectively referred to as “

Intellectual Property”). Plaintiff has been and continues to be irreparably damaged through

consumer confusion, dilution, loss of control over the creative content, and tarnishment of its

valuable trademarks and copyrights as a result of Defendants’ actions and is thus seeking

injunctive and monetary relief.

                                          THE PLAINTIFF

        9.




                     .

        10.




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       11.                                 is in the business of developing, manufacturing,

marketing, and licensing           Products. The following are examples of genuine

Products:




       12.                               is the licensor of all          Products available in

stores and on various e-commerce platforms, for example:




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        13.            has used the                  and other trademarks for many years and has

continuously sold products under the                    and other trademarks. As a result of this long-

standing use, strong common law trademark rights have amassed in the                       Trademarks.

        use of the                Trademarks has also built substantial goodwill in and to the

        Trademarks. The                    Trademarks are famous marks and valuable assets of

              Products typically include at least one of the registered                    Trademarks

and/or the                Copyrighted Designs.

        14.     The                 Trademarks have been used exclusively by           and have never

been abandoned. The Trademark Registrations are valid, subsisting, and in full force and effect. The

registrations of the                Trademarks constitute prima facie evidence of their validity and of

       exclusive right to use the                Trademarks pursuant to 15 U.S.C. § 1057(b).

        15.            has invested substantial time, money, and effort in building up and developing

consumer recognition, awareness, and goodwill in the                       Products. The

Trademarks and the                   Copyrighted Designs have been continuously used, and are, and

have been, the subject of continuous marketing and promotion by Plaintiff in the industry and to

consumers.

        16.     The success of the                   Products is due in large part to the marketing,

promotional, and distribution efforts of            These efforts include advertising and promotion

through online retailer websites, and are conducted through internet-based advertising, print, and

other efforts both in the United States and internationally.

        17.     The success of the                  Products and brand is also due to the use of high-

quality materials and processes in making the                  Products.




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        18.      Additionally,           owes a substantial amount of the success of the

Products to its licensees, consumers, and interest that its consumers have generated.

        19.      As a result of the efforts of            the quality of its                  Products, the

promotional efforts for its products and designs, press and media coverage, and widespread

marketing, members of the public have become familiar with the                      Products,

Copyrights, and                  Trademarks, and associate them exclusively with

        20.                                     has made efforts to protect its interests in and to the

Intellectual Property.        and its licensees are the only businesses and/or individuals authorized to

manufacture, import, export, advertise, offer for sale, or sell any goods utilizing the

Copyrights and/or                       Trademarks, without the express written permission of

Plaintiff has not licensed or authorized Defendants to use the                            Trademarks and

Copyrights.


                                           THE DEFENDANTS

        21.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including Illinois, and within this Judicial District, through the

operation of fully interactive commercial websites and online marketplace accounts operating under

the Seller Aliases and Defendant Internet Stores identified on Schedule A. Each Defendant targets

the United States, including Illinois, and has offered to sell and, on information and belief, has sold

and continues to sell Counterfeit                    Products to consumers within the United States,

Illinois, and this Judicial District.




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                           THE DEFENDANTS’ UNLAWFUL CONDUCT

        22.     The success and widespread popularity and recognition of the                      brand and

              Products has resulted in significant counterfeiting and intentional copying. Plaintiff has

identified numerous Seller Aliases linked to fully interactive websites and marketplace listings on

platforms which include, but are not limited to those operated on the following marketplaces: eBay,

Inc. (“eBay”), ContextLogic, Inc. (“Wish”), Amazon, Inc. (“Amazon”), Etsy, Inc. (“Etsy), DHGate.com

(“DHGate”), and AliExpress, Inc. (“AliExpress”), among others (collectively referred to herein as

“Online Marketplaces”), including the Defendant Internet Stores, which are offering for sale, selling,

and importing Counterfeit                      Products to consumers in this Judicial District and

throughout the United States. Internet websites like the Defendant Internet Stores are estimated to

receive tens of millions of visits per year and to generate over $350 billion in annual online sales. 1

According to an intellectual property rights seizures statistics report issued by Homeland Security

and the U.S. Customs and Border Protection, the manufacturer’s suggested retail price (MSRP) of

goods seized by the U.S. government in the fiscal year 2020 was over $1.3 billion. 2 Internet websites

like the Defendant Internet Stores are also estimated to contribute to tens of thousands of lost jobs

for legitimate businesses and broader economic damages such as lost tax revenue every year. Id.

        23.     As recently addressed in the New York Times and by the U.S. Dept. of Homeland

Security, and as reflected in the increase of federal lawsuits filed against sellers offering for sale and

selling infringing and/or counterfeit products on the above mentioned digital marketplaces, an




1
  See “2020 Review of Notorious Markets for Counterfeiting and Piracy,” OFFICE OF THE UNITED STATES TRADE
REPRESENTATIVE, Executive Office of the President. 85 FR 62006 (October 1, 2020).
2
  See “Intellectual Property Rights Fiscal Year 2020 Seizure Statistics,” U.S. CUSTOMS AND BORDER PROTECTION.
CBP Publication No. 1542-092 (September 21, 2021).

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astronomical number of counterfeit and infringing products are offered for sale and sold on these

digital marketplaces at a rampant rate. 3

        24.     Upon information and belief, Defendants facilitate sales by designing their Internet

stores and product listings to appear to unknowing consumers as authorized online retailers, outlet

stores, or wholesalers selling genuine                   Products, through the use of          Intellectual

Property. Defendant Internet Stores look sophisticated and perpetuate an illusion of legitimacy –

they accept payment in U.S. dollars via credit cards, Western Union, and PayPal; they often include

images and design elements that make it difficult for consumers to distinguish these unauthorized

sites from an authorized website; they offer “live 24/7” customer service; and, they use indicia of

authenticity and security that consumers have come to associate with authorized retailers, including

the McAfee® Security, VeriSign®, Visa®, MasterCard®, and PayPal® logos.

        25.     Upon information and belief, Defendants also deceive unknowing consumers by

using the               Trademarks without authorization within the content, text, and/or metatags

of their websites, in order to attract and manipulate search engines into identifying the Defendant

Internet Stores as legitimate websites for authentic                  Products. Defendants also employ

other unauthorized search engine optimization (“SEO”) tactics and social media spamming so that

the Defendant Internet Stores show up at or near the top of relevant search results, including tactics

to propel new domain names to the top of search results after others are shut down. These tactics

are meant to, and are successful in, misdirecting consumers who are searching for genuine

        Products.




3
   See Ganda Suthivarakom, Welcome to the Era of Fake Products, N.Y. TIMES (Feb. 11, 2020),
https://www.nytimes.com/wirecutter/blog/amazon-counterfeit-fake-products/. See also Combating Trafficking in
Counterfeit and Pirated Goods, U.S. DEPT. OF HOMELAND SECURITY (Jan. 24, 2020), available at
https://www.dhs.gov/sites/default/ files/publications/20_0124_plcy_counterfeit-pirated-goods-report_01.pdf.

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        26.     Upon information and belief, Defendants operate in a collective and organized

manner, often monitor trademark infringement litigation alert websites, are in continuous and

active concert with one another, are in frequent communication with each other – utilizing online

chat platforms and groups, and use these collective efforts in an attempt to avoid liability and

intellectual property enforcement efforts. 4 Furthermore, there is a substantial evidentiary overlap

in Defendants’ behavior, conduct, and individual acts of infringement, thus constituting a

collective enterprise.

        27.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Internet Stores are incomplete, contain randomly typed letters, or fail to include cities

and other relevant information. Other Defendants use privacy services that conceal the owners’

identity and contact information. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using the identities listed in Schedule

A attached hereto, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by Defendants to conceal their

identities, the full scope and interworking of their massive infringing operation, and to avoid being

shut down.

        28.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores, including, but by no means limited to: (1) virtually

identical layouts, even though different aliases were used to register the respective online markplace

accounts; (2) similarities of the Counterfeit                Products, and indicia of being related to one


4
 For this reason, Plaintiff is concurrently filing a Motion For Leave to File Certain Documents Under Seal and
Temporarily Proceed Under A Pseudonym.

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another, suggesting that the illegal products were manufactured by and come from a common source

and that, upon information and belief, Defendants are interrelated; and, (3) other notable common

features such as use of the same naming conventions, registration patterns, unique shopping cart

platforms, accepted payment methods, check-out methods, metadata, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, similar hosting services, similar name servers,

and the use of the same text and images.

        29.     Further, illegal operators, like Defendants, typically operate multiple payment

processor and merchant accounts, including but not limited to, one or more financial accounts

operated through platforms such as eBay, Inc. (“eBay”), PayPal, Inc. (“PayPal”), Payoneer, Inc.

(“Payoneer”), Stripe, Inc. (“Stripe”), ContextLogic, Inc. (“Wish”), Amazon Payments, Inc.

(“Amazon”), Etsy, Inc. (“Etsy”), and Alipay US, Inc. (“Alipay”) (collectively referred to herein as

“Payment Processors”), and hide behind layers of payment gateways so they can continue operation

in spite of any enforcement efforts. Additionally, and upon information and belief, and as financial

transaction logs in previous similar cases have shown, Defendants often maintain off-shore bank

accounts and regularly move funds from their Payment Processor accounts to said off-shore bank

accounts, outside the jurisdiction of this Court.

        30.     Defendants, without any authorization or license, have knowingly and willfully

infringed the                 Trademarks and Copyrights in connection with the manufacturing,

advertisement, distribution, offering for sale, and sale of illegal, infringing, and counterfeit

products into the United States and Illinois. Each Defendant Internet Store offers to ship to the

United States, including Illinois, and, on information and belief, each Defendant has offered to

sell, or has already sold, infringing products therein.



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        31.    In committing these acts, Defendants have, among other things, willfully and in bad

faith, committed the following, all of which have and will continue to cause irreparable harm to

the                brand: infringed upon and used counterfeit versions of the

Trademarks and                   Copyrights; created, manufactured, sold, and/or offered to sell

counterfeit products and/or products which infringe upon the         Intellectual Property; used the

      Intellectual Property in an unauthorized manner in order to sell, advertise, describe, mislead,

deceive, and trade upon the                brand; engaged in unfair competition; and unfairly and

unjustly profited from such activities at the expenses of

        32.    Plaintiff does not yet know the full extent and identity of the channels through

which Defendants source and sell the Counterfeit Products. Defendants directed, supervised,

and/or controlled activity infringing on Plaintiff’s Trademarks and Copyrights and the sale of

Counterfeit Products. Defendants have a direct financial interest in, and gain a direct financial

benefit from infringing activity and realize profits from the sale of Counterfeit Products.

        33.    By engaging in the illegal conduct outlined herein, in addition to directly organizing

and effectuating such infringing activities, each Defendant also induced, caused, and materially

contributed to infringing conduct by others, including the other Defendants. There is a causal

relationship between the infringing activity and the financial benefit reaped by Defendants.

        34.    Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        35.    Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

        36.    This is a trademark infringement action against Defendants, based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Plaintiff’s

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Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing and counterfeit goods.

       37.     Without the authorization or consent of          and with knowledge of         well-

known ownership rights in its                  Trademarks, and with knowledge that Defendants’

Counterfeit Products bear counterfeit marks, Defendants intentionally reproduced, copied, and/or

colorably imitated the              Trademarks and/or used spurious designations that are identical

with, or substantially indistinguishable from, the              Trademarks on or in connection with

the manufacturing, import, export, advertising, marketing, promotion, distribution, display,

offering for sale, and/or sale of Counterfeit Products.

       38.     Defendants have manufactured, imported, exported, advertised, marketed,

promoted, distributed, displayed, offered for sale, and/or sold their Counterfeit Products to the

purchasing public in direct competition with          and the              Products, in or affecting

interstate commerce, and/or have acted with reckless disregard of Plaintiff’s rights in and to the

             Trademarks through their participation in such activities.

       39.     Defendants have applied their reproductions, counterfeits, copies, and colorable

imitations of the              Trademarks to packaging, point-of-purchase materials, promotions,

and/or advertisements intended to be used in commerce upon, or in connection with, the

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale, and/or selling of Defendants’ Counterfeit Products, which is likely to cause

confusion, mistake, and deception among the general purchasing public as to the origin of the

Counterfeit Products, and is likely to deceive consumers, the public, and the trade into believing

that the Counterfeit Products sold by Defendants originate from, are associated with, or are




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otherwise authorized by                                 through which Defendants make substantial

profits and gains to which they are not entitled in law or equity.

       40.       Defendants’ unauthorized use of the                  Trademarks on or in connection

with the Counterfeit Products was done with notice and full knowledge that such use was not

authorized or licensed by        and with deliberate intent to unfairly benefit from the incalculable

goodwill inherent in the               Trademarks.

       41.       Defendants intentionally induce others to infringe upon Plaintiff’s trademarks

and/or continues to supply services with the knowledge that the recipient is using such services to

engage in such trademark infringement. Defendants have the right and ability to supervise the

infringing activity and have an obvious and direct financial interest in the counterfeit activity.

       42.       Defendants’ actions constitute willful counterfeiting of the

Trademarks in violation of 15 U.S.C. §§ 1114(1)(a)-(b), 1116(d), and 1117(b)-(c).

       43.       Defendants’ continued intentional use of the                Trademarks without the

consent or authorization of                                  constitutes intentional infringement of

       federally registered                Trademarks in violation of §32 of the Lanham Act, 15

U.S.C. § 1114.

       44.       As a direct and proximate result of Defendants’ illegal actions alleged herein,

Defendants have caused substantial monetary loss, irreparable injury, and damage to                  its

business, its reputation, and its valuable rights in and to the                 Trademarks and the

goodwill associated therewith, in an amount as yet unknown.            has no adequate remedy at law

for this injury, and unless immediately enjoined, Defendants will continue to cause such substantial

and irreparable injury, loss, and damage to        and its valuable              Trademarks.




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       45.     Based on Defendants’ actions as alleged herein,          is entitled to injunctive relief,

damages for the irreparable harm that              has sustained, and will sustain, as a result of

Defendants’ unlawful and infringing actions, as well as all gains, profits, and advantages obtained

by Defendants as a result thereof, enhanced discretionary damages, treble damages, and/or

statutory damages of up to $2,000,000 per-counterfeit mark per-type of goods sold, offered for

sale, or distributed, and reasonable attorneys’ fees and costs.

                                  COUNT II
   FALSE DESIGNATION OF ORIGIN, PASSING OFF, & UNFAIR COMPETITION
                 (15 U.S.C. § 1125(a)/LANHAM ACT § 43(a))

       46.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       47.     Plaintiff, as the owner of all right, title, and interest in and to the

Trademarks has standing to maintain an action for false designation of origin and unfair

competition under the Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

       48.     Plaintiff’s Trademarks are inherently distinctive and are registered with the United

States Patent and Trademark Office on the Principal Register; the                    Trademarks have

been continuously used and have never been abandoned; the registrations for the

Trademarks are valid, subsisting, and in full force and effect; and many are incontestable pursuant

to 15 U.S.C. § 1065.

       49.     Defendants’ promotion, marketing, offering for sale, and sale of infringing and

Counterfeit               Products has created, and continues to create, a likelihood of confusion,

mistake, and deception among the public as to the affiliation, connection, or association with Plaintiff

or as to the origin, sponsorship, or approval of Defendants’ infringing products by Plaintiff.




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       50.     By using the                Trademarks in connection with the sale of unauthorized

products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the unauthorized products.

       51.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the unauthorized products to the general public is a willful violation of

Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       52.     Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, and intended to cause confusion, to cause mistake, and to

deceive the purchasing public, with the intent to trade on the goodwill and reputation of             its

             Products, and               Trademarks.

       53.     As a direct and proximate result of Defendants’ aforementioned actions,

Defendants have caused irreparable injury to          by depriving Plaintiff of sales of its

Products and by depriving         of the value of its               Trademarks as commercial assets

in an amount as yet unknown.

       54.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.

                                  COUNT III
     VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                           (815 ILCS § 510, et seq.)

       55.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       56.     Defendants have engaged in acts violating Illinois law, including, but not limited

to, passing off their unauthorized products as those of Plaintiff, causing a likelihood of confusion

and/or misunderstanding as to the source of Defendants’ goods, thus causing a likelihood of


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confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

              Products, through Defendants’ representation that Defendants’ Counterfeit Products

have Plaintiff’s approval, when they do not.

        57.      The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq..

        58.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     COUNT IV
                        COPYRIGHT INFRINGEMENT (17 U.S.C. § 501(a))

        59.      Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

        60.      The                   Copyrights are the subject of multiple valid copyright

registrations.

        61.      Plaintiff, at all relevant times, has been the holder of the copyright registrations and

exclusive rights of and belonging to          including but not limited to the               Copyrights

and derivative works.

        62.      These copyrights have significant value and have been produced and created at

considerable expense.

        63.      The authentic products featuring the                   Copyrights typically include a

copyright notice advising the general public that the         Products are protected by the Copyright

Laws of the United States.

        64.      Upon information and belief, Defendants had access to the copyrighted work

through Plaintiff’s normal business activities. After accessing Plaintiff’s work, Defendants

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wrongfully created copies of the copyrighted work without Plaintiff’s consent, and engaged in,

and continue to engage in acts of widespread infringement.

       65.              is informed, and thereon alleges, that Defendants further infringed

Copyrights by making, or causing to be made, derivative works by producing and distributing

unauthorized reproductions of the                   Copyrights, without permission of

       66.     Each Defendant, without the permission or consent of the Plaintiff, has sold, and

continues to sell, online infringing derivative works of Plaintiff’s Copyrights. Each Defendant has

violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s actions

constitute an infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

       67.     Further, as a direct result of the Defendants’ acts of copyright infringement,

Defendants have obtained profits they would not have otherwise realized but for their infringement

of Plaintiff’s Copyrights.        is entitled to disgorgement of Defendants’ profits, directly and

indirectly, attributable to said infringement.

       68.     Defendants, with knowledge of Plaintiff’s Copyrights, indirectly infringed

Plaintiff’s Copyrights by encouraging, causing, and materially contributing to infringing conduct

by others. Defendants knowingly engaged in, supervised, and/or controlled infringing activity and

the sale of Counterfeit Products, and have a direct financial interest in, and stood to gain a direct

financial benefit from, such infringing activity.

       69.     As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

U.S. Copyright Law, Plaintiff is entitled to relief pursuant to 17 U.S.C. § 504.

       70.     The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be



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compensated or measured monetarily. Plaintiff has no adequate remedy at law. As such, pursuant

to 17 U.S.C. §§ 502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant

from further infringing Plaintiff’s Copyrights, and ordering that each Defendant destroy all

unauthorized and/or infringing copies and reproductions of Plaintiff’s Copyrighted works.

Defendants’ copies, plates, and other embodiments of the copyrighted work from which copies

can be reproduced should be impounded and forfeited to             as instruments of infringement,

under 17 U.S.C § 503.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

          a. using the               Trademarks and/or Copyrights, or any reproductions, copies,

              or colorable imitations thereof, in any manner in connection with the distribution,

              marketing, advertising, offering for sale, or sale of any product that is not an

              authorized                Product, or is not authorized by Plaintiff to be sold in

              connection with the               Trademarks or                 Copyrights;

          b. passing off, inducing, or enabling others to sell or pass off any product not produced

              under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

              for sale under the              Trademarks or                Copyrights;

          c. shipping, delivering, holding for sale, transferring, or otherwise moving, storing,

              distributing, returning, or otherwise disposing of, in any manner, products or




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              inventory not authorized by Plaintiff to be sold or offered for sale, and which bear

              the                Trademarks, or which are derived from the              Copyrights;

          d. further infringing the                   Trademarks and Copyrights and damaging

              Plaintiff’s goodwill;

          e. using, linking to, transferring, selling, exercising control over the Defendant Internet

              Stores, Defendant product listings, or any other domain name or online marketplace

              account that is being used to sell products or inventory not authorized by Plaintiff

              which bear the                 Trademarks or which are derived from Plaintiff’s

                      Copyrights;

          f. operating and/or hosting websites at the Defendant Internet Stores, and any other

              domain names registered to or operated by Defendants that are involved with the

              distribution, marketing, advertising, offering for sale, or sale of products or

              inventory not authorized by Plaintiff which bear the                  Trademarks, or

              which are derived from Plaintiff’s               Copyrights;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any Online Marketplaces and Payment Processors,

and any related entities, social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet

search engines such as Google, Bing, and Yahoo, web hosts for the Defendant Internet Stores, and

domain name registrars, shall:

          a. disable and cease providing services for any accounts through which Defendants

              engage in the sale of unauthorized products, which bear the

              Trademarks, or which are derived from Plaintiff’s                         Copyrights,

              including any accounts associated with Defendants listed on Schedule A;


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          b. disable and cease displaying any advertisements used by or associated with

              Defendants in connection with the sale of products not authorized by Plaintiff which

              bear the                 Trademarks, or which are derived from Plaintiff’s copyrights

              in the              Copyrights; and,

          c. take all steps necessary to prevent links to the Defendant Internet Stores identified

              on Schedule A from displaying in search results, including, but not limited to,

              removing links to the Defendant Internet Stores from any search index.

       3) That Defendants account for, and pay to, Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged;

       4) For Judgment in favor of Plaintiff against Defendants that they have willfully infringed

Plaintiff’s rights in its federally registered Trademarks, pursuant to 15 U.S.C. § 1114;

       5) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages, at the election of Plaintiff; and that the amount of damages for infringement are increased

by a sum not to exceed three times the amount thereof as provided by 15 U.S.C. § 1117;

       6) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in its federally registered copyrights pursuant to 17 U.S.C. § 501; and,

b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

       7) That Plaintiff be awarded actual damages, statutory damages, and/or other available

damages pursuant to 17 U.S.C. § 504, at the election of Plaintiff;

       8) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and,

       9) Any and all other relief that this Court deems just and proper.




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 DATED: February 4, 2022                  Respectfully submitted,

                                          /s/ Sofia Quezada
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